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PRINCE GEORGE'S COUNTY GOVERNMENT

OFFICE OF LAW
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County Attorney
August 3, 2022

The Honorable Peter J. Messitte

The United States District Court for the District of Maryland
6500 Cherrywood Lane

Greenbelt, Maryland 20770

Re: Robert Frazier, et. al. vy. Prince George’s County, Maryland, et. al.
Case No. 8:22-cv-1768 PJM

Judge Messitte,

In response to the Court’s Order issued during the telephone conference held with the parties on
Wednesday, July 27, 2022, Defendant Prince George’s County, Maryland respectfully submits the
following information addressing the named plaintiffs and the court’s inquiry of whether any of
them are continuing to be held allegedly in violation of a Court Order issued by the District or
Circuit Courts for Prince George’s County, Maryland.

To answer the Court’s question directly and succinctly, no. None of the Plaintiffs that
remain at the Prince George’s County Department of Corrections (PGCDOC) are being held in
violation of a Court Order (nor for that matter, were the previously released named plaintiffs). As
stated during the telephone conference, this case centers on Plaintiffs’ confounding contention that
the courts’ orders and referrals to the County detention center’s pre-trial release program are orders
for release of detainees despite acknowledgement in their complaint that such orders are not
treated, i.e., understood, by either the courts or the facility as orders for release. Moreover, it is
clear from the documents found in the Plaintiffs’ criminal case files that the Office of the Public
Defender for Prince George’s County is using the instant civil suit as an effort to circumvent the
state court rulings on bail decisions made in serious felony cases.

The named Plaintiffs in this matter are Robert Frazier, Anibal Hernandez, D.P. (a minor),
Christopher Butler, Miramba Williams, Donnell Davis, Leslie Sharp, Elmer Laguna-Salinas and
Adrienne Worthington. Below are each named Plaintiff’s criminal charges, dates of commitment
hearing, dates of bond review hearings and conditions of release, if any, and release dates (if
released). Attached are copies of the commitment documentation, bond review and conditions for
release, if any.

1. Robert Frazier (Exhibit A)

a. Date of Arrest: 05/28/22

Wayne K. Curry Administration Building, 1301 McCormick Drive, Suite 4100
Largo, Maryland 20774
Phone (301) 952-5225 Fax (301) 952-3701
www. princegeorgescountymed,. gov

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Charges:
Handgun in vehicle — CR §4-203
Knowingly Alter Firearm ID No. — PS § 5-144 ((a)(2))
Loaded Handgun in Vehicle — CR § 4-203((a)(1)(v))
Illegal Poss. Ammo — PS §5-133.1
Un-registered Firearm: Illegal Possession — PS §5-133((b))
Firearm possession w/felony conviction — PS §5-133(c)
Driving w/o current tags — TA §13-411(d)
Operating unregistered vehicle — TA§ 13-410(b)(1)
Knowingly driving uninsured vehicle —- TA§ 17-107(a)(1)
Displaying expired registration plate(s) issued by any state — TA §13-411(f)
Driving/attempting drive motor vehicle on hwy w/o reg. license and authorization —
TA §16-101 (a)(1)
(Displaying, permitting to be displayed) reg. plate(s) issued for (for other vehicle, to
other person) TA §13-411(g)
Owner failure to maintain required security for vehicle during reg. period — TA §17-
104
Unauthorized display and use of reg. plate — TA §13-703(g)

Court Dates
05/29/22 — Initial Appearance. No bond.
05/31/22 —Bond Review Hearing. No bond or PTR option Level 4 — no contact with
witness/codefendant, stay away from LOI, no possession or be near firearms.
06/21/22 — Bond Review Hearing. No bond or PTR option Level 4 — no contact with
witness/codefendant, stay away from LOI, no possession or be near firearms.
06/28/22 — Bond Review Hearing. No bond or PTR option Level 4 — no contact with
witness/codefendant, stay away from LOI, no possession or be near firearms.
07/14/22 — Indicted by Grand Jury.
7/19/22 — held no bond or Court ordered PTR Level #4 — no contact with
victim/witnesses/codefendant; stay away from LOI or be near any firearms. Not to
possess any firearms or ammo.
Frazier not released due to Detainer - Arlington Co., VA (fleeing and eluding).

. Anibal Hernandez — No longer in custody. (Exhibit B)

Date of Arrest: 06/22/22

Charges:
CDS: Poss w/I Dist. Nare. — CR §5-602(2)

CDS: Import into State-—CR §5-614
CDS: Possess — Not Marijuana — CR §5-601(a)(1)

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CDS: Poss Marijuana 10 GM+ - CR§5-601(a)(1)
Firearm/Drug Traf. Crime — CR §5-621(b)(1)

Court Dates

06/23/22 — Initial Appearance Hearing

06/24/22 — Bail Review Hearing

e No bond

e PTR Ordered — verify address before release

e No possession of weapons, CDS, ammo.

07/13/22 — DOC letter to Court advising no verifiable address. District Court
receives, reviews and sets case in for an additional bail review hearing.
07/25/22 — Bail Review Hearing

07/25/22 — Preliminary Hearing held. Probable cause found for all counts. Bail
review requested and held. Court advised the PTR could only release upon
verification of address that has not occurred. Court ordered case bond in the
amount of $5,000/10% option, no possession of CDS, weapons, firearms, and
ammo.)

Defendant Released.

P. — 16 years-old — No longer in PGCDOC custody. (Exhibit C)

Date of Arrest: 06/17/22.

Charge:
Armed Robbery — CR §3-403

Robbery — CR§ 3-402
Theft — CR 7-104
Firearm Use/Fel-Viol Crime — CR §4-204(b)
Dangerous Weapon on school Property CR §4-102
Assault 1 degree — CR§ 3-202
Poss of firearm minor — PS §5-133(d)
Court Dates
06/16/22 — Initial Appearance, no Bond.
06/21/22 - Bail Review Summary
e Bond to remain same.
e PTR-— Option at Level 4; stay away from location of incident (Potomac High
School) and no contact with victim.
06/28/22 — Preliminary Hearing — Probable cause found on all counts; Bond Review
bond to remain same; PTR level 4 allowed but no ordered.
Defendant is a minor and shall be held in a juvenile facility. Transferred to
Cheltenham juvenile facility located in Clinton, MD. (state).
07/28/22 — State NP Count 1 and Count 5. Bond remains the same.

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D.P. not released due to Detainer — Arlington, Co., Virginia.

. Christopher Butler - Never Referred to Pretrial Service (Exhibit D)

VVVV V

Date of Arrest: 10/26/21.

Charges:
Murder — 2"! degree — CR §2204

Manslaughter — CR § 2207(a)
Assault 1* degree — CR§ 3-202
Firearm use/fel- vol crime — CR §4-204(b)

. Court Dates

10/27/21 — Initial Appearance, bail review, no bond.
10/28/21 — Bond Review Hearing — No Bond.
10/29/21 — Bond Hearing — No bond -

11/18/21 — Indicted

02/18/22 — Bond Hearing held.

. Miramba Williams (Exhibit E)

Date of Arrest: 06/30/22.

Charges

CDS: Poss Marijuana 10 GM+ - CR §5-601(a)(1)
CDS poss w/int to Dist. -CR §5-602

Handgun in vehicle — CR §4-203

CDS: Dist etc. w/ firearm —CR_ 5-621(b)(2)
Firearm/Drug Traf Crime — CR § 5-621(b)(1)

Reg Firearm: Illegal possession — PS §5-133(b)
Loaded Handgun in Vehicle — CR §4-203(a)(1)(v)
Illegal Poss Ammo — PS§ 5-133.1

Firearm use/fel — viol crime — CR §4-204(b)

Court Dates

07/01/22 — Initial Appearance Hearing — No bond.

07/01/22 — Pretrial Release Determination — Found not eligible for Pretrial
Release because of active probation and detainer for Montgomery Co., MD.
07/05/22 — Bail Review Hearing - No bond; PTR option at any level — do not possess
any weapons, firearms or ammo. No use of alcohol, drugs, or controlled substance.
Prior convictions: regulated firearm: illegal poss.; probation ending 10/28/22;
Active protective order exp. 5/13/23.

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6. Donnell Davis (Exhibit F)

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Date of Arrest: 10/09/20.

Charges:
Assault 1** Degree CR§3-202
Assault 2"! Degree CR §3-202

Court Dates

10/08/20 — Initial Appearance. No bond.

10/09/20 — Bond Hearing - No Bond or PTR Level 4 with complete PTSU interview.
Level 4 can be cell, must verify address before release, stay away.

10/28/20 — Pretrial Service notification that No PG address and thus, not eligible
for Pretrial Release at Level 4.

11/09/20 — Preliminary Hearing. Count 1 NP. Bond Hearing — Bond remain the
same. No Bond or PTR option Level 4 with complete PTSU interview. PTSU verify
address before release; no contact with victim and LOI.

12/16/20 — Bond Hearing — No bond or PTR option at any level with condition of stay
away from victim.

01/07/21 — Released upon finding of not guilty.

Leslie Sharp (Exhibit G)

Arrest Date: 06/11/21

Charges:
Assault — 2™ degree — CR §2-203

Court Dates

06/12/21 — Initial Appearance. No bond,

06/14/21 — Bail Review Hearing. No Bond or Option PTR — Level 4 — No contact
with victim/residence, place of employment, location 3590 Powder Mill Road,
Beltsville; no weapons, firearms, ammo, alcohol.

06/24/21 — Bail Review Hearing. No Bond or ordered PTR — Level 4 — No contact
with victim/residence, place of employment, location 3590 Powder Mill Road,

Beltsville; no weapons, firearms, ammo, alcohol.

06/30/21 — Pretrial Services found not eligible for PTR due to D.C., detainer for

violation of probation n PWID/Poss. Of Firearm. Probation agent informed

PTR that Sharp has been arrested twice in 30 days.
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> 07/14/22 — Bail Review Hearing. No bond or PTR Option -Level 4 - No contact with
victim/residence, place of employment, location 3590 Powder Mill Road, Beltsville;
no weapons, firearms, ammo, alcohol.

® 07/22/22 — Trial — Verdict — Nolle Prosequi. Released.

. Elmer Laguan-Salinas — Never referred to Pretrial Services (Exhibit H)

a. Date of Arrest:
Case No. 1 — 3E00732028 — 03/15/22

b. Charges:
a. Assault 2"! degree — CR§ 3-203. (Case No. 1 - 3E00732028)

b. Disorderly Conduct — CR §10-201(c)(2) (Case No. 1 - 3E00732028)

c. Court Dates
03/16/22 — Initial Appearance. $2,500 and 10% acceptable.

e 03/17/22 — Bond Review Hearing — Same bond; stay away, no contact, no weapons,
CDS, ammo.

e 05/25/22 — Nolle prosequi.

a. Date of Arrest: Case No. 2 — 1E00721379 — 03/16/22 (arrest warrant served at DOC.)

b. Charges:
e Attempted Home invasion. (Case No. 2 - 1E00721379)

e Assault — 1*' Degree — CR §3-202 (Case No. 2 - 1E00721379)

e Firearm Use -felony violent crime - CR §4-204(b) (Case No. 2 - 1E00721379)

e Firearm possession with felony conviction — PS §5-133(c) (Case No. 2 -
1E00721379)

e Reckless Endangerment — CR §3-204(a)(1) (Case No. 2 - 1E00721379)

e Reg. Firearm: illegal possession — PS §5-133(B) (Case No. 2 - 1E00721379)

e Handgun on person — CR§4-203(Case No. 2 - 1E00721379)

c. Court Dates

> (3/16/22 — Initial Appearance and Defendant committed.

» 03/17/22 — Bail Review (BOTH CASES) -Defendant Committed. No bond with PTR
Option, Level 4, must verify address before release. Stay away ordered.
-Conditions of no contact with victims and stay away from residence and place of
employment. No ownership or possession of weapon, firearm, ammo, or CDS.

> 04/15/22 — Preliminary Hearing — No probable cause for 1°' degree Assault. Bond
Review Hearing, no bond, or Level 4 with verified address and stay away.

® 05/12/22 —Hearing — State NP Count 4, Bail Review in light of change. No bond and
no PTR option.
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» 06/17/22 — Released from commitment on unsecured person bond in the amount
of $25,000. No contact, no weapons.

d. Adrienne Worthington — No longer in custody. (Exhibit I)

a. Date of Arrest: 12/23/21.

b. Charges:
e Assault 1 degree — CR § 3-202

e Assault 2"4 degree — CR §3-203

Court Dates

12/24/21 — Initial Appearance Hearing. No bond.

12/27/21 — Bail Review Hearing — No bond.

12/28/21 - Bail Review Hearing

e No bond.

e PTR option —no contact with victim/witness/co-defendants; stay away from LOT;
no guns, ammo or CDS. Court did not order PTR and did not order private home
detention.

12/30/21 — Motion for Bail Review Hearing filed.

Approved for Electronic Monitoring on 01/07/22.

01/24/22 — Preliminary Hearing held. Count 1 NP, NO CDS, weapons, firearms,

ammo,

® 02/02/22 — Motion Bail Review Hearing filed. Hearing granted on 02/07/22.

> 02/09/22 — Bail Review Hearing held and PTR was modified to an $15,000

unsecured bond, no contact stay away. Approved for Electronic Monitoring but

had PTR release status changed to unsecured bond in the amount of $15,000.

Required to live at Restore Community Development Corp..

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As the Court can see, none of the named plaintiffs are being held in violation of a court
order. Local criminal defense counsel and the Office of the Public Defender are very familiar with
the pretrial practices used in Prince George’s County and that these practices have been established
for years, if not decades. If or when a criminal defendant is found not eligible for pretrial release,
written notice of the individual’s ineligibility is submitted back to the Court notifying the Court as
to why the defendant is currently ineligible for pretrial release. The same
notification/correspondence is forwarded to designated attorneys assigned to the Office of the
Public Defender (OPD). The OPD’s designated attorneys forward a copy, of the court
correspondences, to private defense counsel, for their specific client(s). Either the assigned public
defender or private defense counsel can then has the ability to file a motion whereas another bond
review hearing can be requested and scheduled. If the Court grants the motion, then the Court
can make any modification it deems appropriate to the pretrial conditions. Counsel for the criminal
defendants are often aware of their client’s ineligibility from contact with Pretrial Services
regarding the status of the investigation and/or to provide information to assist in the investigation.
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Moreover, docket entries for cases of some of the named Plaintiffs show that the Office of the
Public Defender periodically filed motions for bond review hearings. These filed motions for bond
review hearing were granted by the District Court in each one of these cases. Finally, the Court
should note that even where a detainee is “released from custody” in the pre-trial service program,
i.e., does not have to await trial within the walls of the correctional facility, that detainee remains
in the custody of the department of corrections as a result of the court’s commitment of the detainee
to the department of corrections. This is why detainees are supervised by investigators assigned to
their cases and why the court’s commitment orders require the department of corrections to
produce the detainees for future court hearings (unless the detainee previously posts the bail set by
the court).

Sincerely,

Shelley L. Johnson
Associate County Attorney
Counsel for Defendant

Attachments
